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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF FLORIDA
                                 GAINESVILLE DIVISION


UNITED STATES OF AMERICA,
v.                                                            CASE NO. 1:05-cr-00028-MP-AK

JAMES ROOSEVELT DARBY, JR,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 74, Motion to Continue Sentencing by James

Roosevelt Darby. A telephone conference was held in this case on June 20, 2006, during which

the government indicated that it had no objection to the continuance. As stated during the

conference, the motion is granted, and the sentencing is hereby reset for Friday, September 1,

2006, at 9:30 a.m.


       DONE AND ORDERED this 6th day of July, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
